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BENFAM WOODSIDE scHRIER
Assistant United States Attorney

`Before: THE HONORABLE sARAH NETBURN _
United States Magistrate Judge § § bd AG é:?) fm

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'Southern District of New York Qj

___________-__________X
SEALED coMPLAlNT
UNITED sTATEs OF AMERICA
' Violations of
- v. - 18 U.s.c. §§ 1349, 1343,
and 2
JOHN LAMBERT, -
a/k/a “Eric Pope," ' ‘\ coUNTY oF oFFENsE:
. z NEW YORK
Defendant.
- - - - - - - - - - - X

SOU_'I'HERN DISTRICT OF NEW YORK, SS.:

KEVIN LECLAIR, being duly sworn, deposes and says that
he is a Special Agent with the United States Attorney’s Office
for the Southern District of New York, and charges as follows:

COUNT ONE
(Conspiracy to Commit Wire Fraud)

1. From at least in or about August 2016, up to and
including at least in or about April 2018, in the Southern
District of New York and elsewhere, JOHN LAMBERT, a/k/a “Eric
Poper” the defendant, and others known and unknown, willfully
and knowingly did combine, conspire, confederate, and agree
together and with each other to commit wire fraud, in violation
of Title lB, United States Code, Section 1343. '

2. It was a part and object of the conspiracy that JOHN
LAMBERT, a/k/a “Eric Pope,” the defendant, and others known and
unknown, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud and for obtaining
money and property by means of false and fraudulent pretenses,
representations, and promises, would and did transmit and cause
to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings,

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signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343.

(Title 18, United states code, section 1349.)
coUNT Two
(Wire Fraud)

3. From at least in or about August 2016 up to and
including at least in or about April 2018, in the Southern
District of New York and elsewhere, JOHN LAMBERT, a/k/a “Eric
Pope,” the defendant, willfully and knowingly, having devised
and intending to devise a scheme and artifice to defraud, and
for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, and
attempting to do`so, did transmit and cause to be transmitted by
means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds, for the purpose of executing such scheme and artifice,
to wit, LAMBERT, using email, phone calls, and other means, made
false representations about his own qualifications and those of
his companies, by, among other things, falsely'claiming to be an
attorney named “Eric Pope,” and by doing so fraudulently induced
various individuals and entities to pay him for purported legal
advice and services through PayPal.

(Title 18, United States Code, Sections 1343 and 2.)

The bases for my knowledge and for the foregoing
charges are, in part, as follows:

4. I am a Special Agent with the United States Attorney's
Office for the Southern District of New York. I have been a
Special Agent with the United States Attorney's Office for the
Southern District of New York since approximately June 2018.
Before that, I was a Special Agent with the United States
Treasury Inspector General for Tax Administration for
approximately two years, and a Special Agent with the United
States Department of State Diplomatic Security Service for
approximately four~and-a-half years, I have been personally
involved in the investigation of this matter.

5. This affidavit is based upon the experience described
in the preceding paragraph, as well as my conversations with`
other law enforcement officers and witnesses, and my examination

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of reports, records, and other materials. Because this
affidavit is being submitted for the limited purpose of
establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation.

Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported
in substance and in part, except where otherwise indicated.

OVERVIEW OF THE SCHEME TO DEFR.AUD
CONSUMERS OF LEGAL ADVICE A'ND SERVICES

6. As set forth below, this investigation has revealed
that JOHN LAMBERT, a/k/a “Eric Pope,” the defendant, and at
least one co-conspirator (“CS-l”),1 perpetrated a scheme to
defraud consumers of legal advice and services, by falsely
representing, through web-based platforms for freelancing
services, websites, emails, phone calls, and other means, that'
they were experienced attorneys who had attended elite law
schools, when in fact they were not attorneys and had never
attended law school. Having misled their victims into believing
they were highly qualified attorneys, LAMBERT and his co-
conspirator then attempted to and in some cases did provide
legal advice and services to their victims, in exchange for

which their victims paid money.

7. Specifically, based on several interviews that other
law-enforcement officers and I have conducted of CS-l, as well
as documents and information that CS~l has provided to the
Government, I have learned the following:

a.In or about August 2016, JOHN LAMBERT, a/k/a “Eric
Pope,” the defendant, and CS~l discussed creating a
legal consulting company called “Headline Consulting”
that would use a web~based platform for freelancing
services (“Freelance Platform-l”) to attract clients.

b.In or about August 2016, LAMBERT created an alias for
himself on Freelance Platform-l, and a corresponding
profile, in the name of “Eric Pope,” LAMBERT also

 

1CS-l has been providing information to the Government since in
or about April 2018 in the hope of not being charged for his
role in the wire~fraud conspiracy charged in Count One of this
Complaint. Information that CS~l has provided to the Government
has proven reliable, and has been corroborated by other means,
including documentary evidence, interviews of victims, and
publicly available information on the Internet and in databases.

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helped CS-l create an alias and a corresponding
profile in the name of “Gregory Shapiro.”4

c.“Eric Pope” and “Gregory Shapiro” were originally
described on Freelance Platform-l as legal consultants
affiliated with Headline Consulting, but LAMBERT later
changed that description to attorneys. LAMBERT's
profile for “Eric Pope” on Freelance Platform-l stated
that he was an attorney located in New York City, when
in fact he was not and had never been an attorney, and
was living in North Carolina.

d.LAMBERT told CS~l that, if asked, CS~l should deny
that he and LAMBERT were associated with the profiles
for “Eric Pope” and “Gregory Shapiro” on Freelance

Platform-l.

e.In or about October 2016, CS~l and LAMBERT started
seeking and obtaining freelance jobs for legal and
non-legal services through Freelance Platform-l. For
instance, LAMBERT and CS-l sought and obtained two
freelance webrdesign.jobs, for which the client paid
Headline Consulting through PayPal. LAMBERT later
paid CS-l for his work on the web~design jobs through

PayPal.

f.In or about October 2016, LAMBERT decided to create a
website for Headline Consulting. LAMBERT and CS-l
purchased a domain name and created content for the
website. LAMBERT created a profile for “Eric Pope” on
the website, and helped CS-1 create a profile for
“Gregory Shapiro.” Lambert also created fictitious
profiles for other individuals on the website,
including a purported Headline Consulting secretary,
using photographs he found on the Internet of people
neither he nor CS-l knew. The website that LAMBERT
and CS-l created for Headline Consulting was linked to
the profiles for “Eric Pope” and “Gregory Shapiro” on
Freelance Platform-l.

g.The phone number listed on the website for Headline
Consulting had a 917 area code (“917 Number~l”).

8. Based on my training and experience, I know that 917
is an area code that serves New York City.

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9. Based on my review of information available on law
enforcement and publicly accessible databases, as well as phone
records for 917 Number-l, I have learned that JOHN LAMBERT,
a/k/a “Eric Pope,” the defendant, did not obtain 917 Number-1
through a traditional telecommunications service provider.
Rather, he registered for an account with a company that enables
the use of multiple phone numbers on a single device (“Spoofing '
Company-l”). In particular, LAMBERT arranged for 917 Number-1
to be used on his cellphone, which was assigned a call number
with a 919 area code (the “919 Number”).

10._ Based on my training and experience, l know that 919
is an area code that serves the east~central part of North

Carolina.

11. Based on my training and experience, my review of
publicly accessible information about Spoofing Company-l and the
types of services it provides, l believe that Spoofing Company-l
would re-route to the 919 Number any calls to 917 Number-l.
Similarly, I understand that JOHN LAMBERT, a/k/a “Eric Pope,”
the defendant, would have been able to make calls from the 919
Number that transmitted 917 Number-1 as caller identification
information to the receiving phone, making it appear as though
the call originated from 917 Number~l. This practice is known
as caller identification “spoofing.” In this sense, calls to
and from 917 Number-1 were effectively calls to and from the 919

Number.

12. Based on the interviews of CS-l and the documents and
information that CS-l provided, I have learned the following:

ad JOHN LAMBERT, a/k/a “Eric Pope,” the defendant, told
CS~1 that it was important for it to appear as though
Headline Consulting had a number with an area code
that serves New York City, because the Headline
Consulting website stated that the company was located

there.

b. In or about early 2017, using the alias “Gregory
Shapiro,” CS~l sought and obtained legal jobs from at
least two clients through Freelance Platform-l. At or
around the same time, CS~l unsuccessfully solicited
other legal jobs through Freelance Platform-l
approximately 10 times.

13. Based on my discussions with victims of the fraudulent
scheme charged in this Complaint, which are described in greater

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detail below, I have learned that, at some point in or before
September 2017, JOHN LAMBERT, a/k/a “Eric Pope,” the defendant,
created another website associated with his alias. This website
purported to be for a law firm called “Pope and Dunn.”

14. Based on my review of a publicly accessible digital
archive of the Internet (the “Internet Archive”), which captured
images from the Pope and Dunn website as it appeared on
September 28, 2017, l have learned that the following
representations appeared on the website on or about that date,
all of which were false, as discussed in greater detail below:

a.Pope and Dunn had thousands of trusted clients, had
protected hundreds of millions of dollars for its
clients, had a high success rate in its cases, and had
handled thousands of corporate cases.

b.“Eric Pope,” one of Pope and Dunn’s six attorneys, was
a graduate of an elite law school (“Law School-l”); a
graduate of an elite undergraduate institution
(“University- 1”); and had 15 years of work experience

in corporate and patent law

c.“Gregory Shapiro,” another one of Pope and Dunn’s six
lawyers, was a graduate of an elite law school (“Law

School-Z”), and was widely recognized as one of the
foremost leaders in the field of intellectual
property. '

d.Pope and Dunn was located in Manhattan, at an address
on Water Street (the “Manhattan Address”). Its phone
number had a 646 area code (the “646 Number”).

15. Based on my review of information provided by Law
School-l, I have learned that no individual named “John Lambert”

or “Eric Pope” ever attended or graduated from Law School-l.

16. Based on the interviews of CS-l and the documents and
information CS-l provided, I have learned the following:

a.JOHN LAMBERT, a/k/a “Eric Pope,” the defendant, never
attended nor graduated from University-l.

b. CS-l neither attended nor graduated from Law School-Z.

17. Based on the interviews of CS-l and the documents and
information CS-l provided, phone records, and GPS historical

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location information for the 919 Number, 1 have learned that
JOHN LAMBERT, a/k/a “Eric Pope,” the defendant, was operating
the Pope and Dunn website from North Carolina and elsewhere, but

not from Manhattan, New York.

18. Based on my training and experience, I know that 646
is an area code that serves Manhattan, New York.

19. Based on my review of information available on law
enforcement and publicly accessible databases, as well as phone
records, I have learned the following:

a.JOHN LAMBERT, a/k/a “Eric Pope,” the defendant, did
not obtain the 646 Number through a traditional
telecommunications service provider. Rather, he
obtained the 646 Number through a second spoofing
company (“Spoofing Company-2”).

b.The 646 Number is associated with two other numbers,
one of which is a second 917 number (“917 Number_Z”).

d:917 Number-2 is maintained by a third spoofing company
(“Spoofing Company~3”), and is associated with LAMBERT

and the 919 Number.

Credit Victim-l and Credit Victim-Z

20. Based on my review of documents and information
provided to the Government by an individual (“Credit Victim~l”)
who posted a legal job on Freelance Platformel seeking an
attorney to assist with correcting errors in a credit report
prepared by a major credit reporting agency (“Credit Reporting
Agency-l”), I have learned the following:

a.Credit Victim-l posted the legal job in question on
Freelance Platform-l in or about the summer of 2017.
In the posting, Credit Victim-l stated that Credit
Victim-l was “having issues with [Credit Reporting
Agency-l] and their handling of my credit report,” and
“was potentially looking for help with this.”

fn At some point after Credit Victim-l posted the legal
job, JOHN LAMBERT, a/k/a “Eric Pope,” the defendant,
responded, using his alias. LAMBERT stated that he
was a graduate of Law School-l; he had gained
experience in corporate, finance, and property law,
making him an expert in those fields; he had worked

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with hundreds of clients, including “tech moguls” and
“entrepreneurs,” in the United States and Europe; and
before starting his own law firm, he had worked at Law

Firm-l.

c.lAMBERT used the alias “Eric Pope” in all of his
communications with Credit Victim-l.

<i.On or about July 18, 2017, LAMBERT sent Credit _
Victim~1 an “Agreement for Legal Service,” describing
the tasks for which “Eric Pope” had been retained as
“Correction of all Main Credit Files” and “Permanent
Resolution of Matter.” The agreement was on Headline
Consulting letterhead, and listed the Manhattan
Address and 646 Number as contact information for the
“Law Offices of Pope and Dunn,” “Attorneys at Law.”

e.In a section titled “Rights as Client,” the agreement
stated, “I have the right to know the qualifications

of the staff assisting me.”

f.From at least in or about July 2017 through at least
in or about April 2018, LAMBERT represented to Credit
Victim~l in numerous emails that he was in contact
with Credit Reporting Agency-l, and that he was making
efforts to resolve the issues with Credit Victim-l's
credit report, potentially file a lawsuit against
Credit Reporting Agency-l, and secure an out-of-court
settlement with Credit Reporting Agency-l.

g.At some point after in or about July 2017, Credit
Victim-l introduced LAMBERT to Credit Victim~l's
partner (“Credit Victim~2”), who was also seeking
assistance with issues related to Credit Victim~2’s
credit. LAMBERT, using the alias “Eric Pope,”
thereafter purported to provide legal advice and
services to Credit Victim-2 as well.

IL On or about August`29, 2017, Credit Victim-l sent an
email to LAMBERT, writing, “I can't buy a home due to
all of this, my credit cards have been closed due `
this, and [Credit Reporting Agency-l is] sending out
false information to anyone who should inquire into me
in any legitimate manner. l really cant [sic] think
of anything else [Credit Reporting Agency-l] could do
to harm me financially, employment wise, and
reputation wise.”

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i. On or about November 3, 2017, Credit Victim-l sent an
email to an account associated with an individual
LAMBERT had described in another email as his
“assistant,” writing, “I have ample money in my 401k
to cash out to pay this off at anytime that it needs
'to be paid in full. l would prefer not to have to
cash out any part of my 401k to pay this balance, but
if me doing so causes any delay whatsoever then I
certainly will immediately remit the balance.”

j. At some point after sending the email described in the
previous paragraph, Credit Victim-l did, in fact,
withdraw money from Credit Victim-l's 401(k) account
to pay LAMBERT for the purported legal advice and
services he provided.

]c.On or about July 7, 2018, Credit Victim-l sent an '
email to LAMBERT, writing, “I wanted to know if you
had heard anything at all form [sic] [Credit Reporting
Agency-1] at this point? Should be going ahead and
filing suit at this point since they are taking no
action at all? I applied for a much better job
recently and l was declined the job because the
potential employer was not able to pull my credit.
This`was a dream job for me and would have been 50k
more per year for me that l was denied due to them not

being able to pull my credit.”

l.After sending the email described in the preceding
paragraph, Credit Victim~l attempted to contact
LAMBERT numerous times, but was unsuccessful.

21. Based on my review of the documents and information
provided by Credit Victim-l and records from PayPal, I have
learned that, from at least in or about July 2017 through at
least in or about April 2018, Credit Victim-l paid JOHN LAMBERT,
a/k/a “Eric Pope:” the defendant, over $10,000 through PayPal
for the purported legal advice and services that he had provided
to Credit Victim~l and Credit Victim-Z. I have also learned
that, on or about December 15, 2017, Credit Victim-2 paid
LAMBERT approximately $500 for purported legal advice and
services. The PayPal account to which Credit Victim~l and
Credit Victim-Z made those payments was in the name of Headline

Consulting,

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Will Victim-l

22. Based on my review of documents and information
provided to the Government by an individual (“Will Victim-l”)
who posted a legal job on Freelance Platform-l seeking an
attorney to assist with drafting a will, as well as my interview
of Will Victim-l, I have learned the following:

a.Will Victim-l posted the legal job in question on
Freelance Platform~l in or about July 2017.

b.JOHN LAMBERT, a/k/a “Eric Pope,” the defendant, using
his alias, responded to the posting in or about July

2017.~

c.From at least in or about July 2017 through at least
in or about October 2017, LAMBERT purported to provide
legal advice and services to Will Victim-l, including
by drafting a will for Will Victim-l. '

d.In the course of providing purported legal advice and

'services to Will Victim-l, LAMBERT communicated with
Will Victim-l through at least one phone call, as well
as through emails. In the emails that LAMBERT sent to
Will Victim-l, his signature block described “Eric
Pope” as an “Attorney at Law, HC, PLLC Legal Principle
[sic]” at Headline Consulting, provided a link to the
Headline Consulting website, and listed 917 Number~l
as his contact phone number.

23. Based on my review of documents and information
provided by Will Victim-l, my interview of Will Victim-l, and
records from PayPal, I have learned that Will Victim-l paid JOHN
LAMBERT, a/k/a “Eric Pope,” the defendant, approximately $1,500
for his purported legal advice and services.

IT Consulting Company-l

24. Based on my review of documents and information
provided to the Government by a certified public accountant
(“CPA-l”), as well as my interview of CPA-l, I have learned the

following:

a.From at least in or about August 2017 through at least
in or about September 2017, JOHN LAMBERT, a/k/a “Eric
Pope,” the defendant, using his alias, exchanged
emails with CPA-l about two legal jobs related to

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corporate and intellectual property law that CPA-l had
posted on Freelance Platform-l on behalf of one of
CPA~l{s clients, an IT consulting company located in
Texas (“IT Consulting Company~l”). In the emails that
LAMBERT sent to cPA-i, his signature block described
“Eric Pope” as an “Attorney at Law, HC, PLLC Legal
Principle [sic]” at Headline Consulting, provided a
link to the Headline Consulting website, and listed
917 Number-1 as his contact phone number.

b. From at least in or about August 2017 through at least
in.or about September 2017, LAMBERT purported to
provide legal advice and services to CPA-l and IT
Consulting Company~l regarding corporate and
intellectual property law.

25. Based on my review of the documents and information
provided by CPA-l, my interview of CPA-l, and records from
PayPal, I have learned that CPA~l paid JOHN LAMBERT, a/k/a “Eric
Pope,” the defendant, approximately $1,400 through PayPal for
his purported legal advice and services. The PayPal account to
which CPA-l made those payments was in the name of Headline

Consulting.

Skincare Company-l

26. Based on my review of documents and information
provided to the Government by the founder of a skincare company
(“Skincare Company-l Founder”), as well as my interview of
Skincare Company~l Founder, I have learned the following:

a.On or about September 20, 2017, JOHN LAMBERT, a/k/a
“Eric Pope,” the defendant, using his alias, responded
to a legal job that Skincare Company-l Founder had
posted on Freelance Platform-l.

b.In his response, LAMBERT made many of the same
fraudulent representations that he made to Credit
Victim-l, including that he was a graduate of Law
School-l; he had gained experience in corporate,
finance, and property law, making him an expert in
those fields; he had worked with hundreds of clients,
including “tech moguls” and “entrepreneurs,” in the
United States and Europe; and before starting his own
law firm, he had worked at Law Firm~l. LAMBERT also
provided a link to the Pope and Dunn website, where he

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said that Skincare Company-l Founder would be able to
find additional examples of his approach and clients,

c.On or about September 21, 2017, LAMBERT and Skincare
Company-l Founder spoke on the phone regarding
LAMBERT's drafting of a termination letter related to
a business arrangement between Skincare Company-l
Founder's company (“Skincare Company-l”) and a third
party. LAMBERT used 917 Number-2 for the call.
During the call, Skincare Company-l Founder was in

Manhattan, New York.

d.On or about September 22, 2017, LAMBERT sent an
agreement for legal services_to Skincare Company-l
Founder on Pope and Dunn letterhead, The_agreement
listed the Manhattan Address and the 646 Number. At
some point after LAMBERT sent Skincare Company-l
Founder the agreement, Skincare Company-l Founder
hired LAMBERT to draft the termination letter they had
previously discussed. LAMBERT subsequently drafted

the termination letter.

e.On or about September 26, 2017, LAMBERT, Skincare
Company-l Founder, and the third party participated in
a conference call to discuss the termination letter.
LAMBERT used 917 Number-2 for the call, During the
call, Skincare Company-l Founder was in Manhattan, New

York.

27. Based on my review of historical GPS location
information for the 919 Number, I have learned that JOHN
LAMBERT, a/k/a “Eric Pope,” the defendant, was in North Carolina
during the September 21, 2017 and September 26, 2017 phone calls

discussed above.

28. Based on my review of the documents and information
provided by Skincare Company-l Founder, my interview of Skincare
Company-l Founder, and records from PayPal, I have learned that
Skincare Company-l Founder paid JOHN LAMBERT, a/k/a “Eric Pope,”
the defendant, approximately $1,120 for his purported legal
advice and services. The PayPal account to which Skincare
Company~l Founder made those payments was in the name of
Headline Consulting,

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Printing Cbmpany-l

29. Based on my review of documents and information
provided to the Government by a printing company (“Printing
Company-l”), as well as my interview of a Printing Company-l
employee (“Printing Company-l Employee”), I have learned the
following:

a.In or about late September or early October 2017,
Printing Company-l posted a legal job on Freelance
Platform-l seeking an attorney to handle a dispute
with a former Printing Company~l employee who had been
fired, The former employee claimed that he had been
fired in violation of federal law, and sought back

` wages, future wages, non-pecuniary damages, benefits,
attorneys' costs and fees, and a positive letter of
reference on his behalf.

b.In or about late September or early October 2017, JOHN
LAMBERT, a/k/a “Eric Pope,” the defendant, responded
to the legal job, using his alias. In subsequent
_email communications with Printing Company-l, his
signature block described “Eric Pope” as an “Attorney
at Law, HC, PLLC Legal Principle [sic]” at “Pope &
Dunn Law, PLLC,” provided a link to the Pope and Dunn
website, and listed the~Manhattan Address and 917

Number-Z.

C.In or about October 2017, LAMBERT purported to provide
legal advice and services to Printing Company-l
regarding its-dispute with its former employee. At
some point, Printing Company-l became unable to
contact LAMBERT, who stopped responding to emails and
calls. '

d.After JOHN LAMBERT, a/k/a “Eric Pope,” the defendant,
failed to resolve the dispute and ceased communicating
with Printing Company-l, the former employee filed a
lawsuit against Printing Company-l.

30. Based on my review of the documents provided by
Printing Company-l, my interview of Printing Company-l Employee,
and records from PayPal, I have learned that Printing Company-l
paid JOHN LAMBERT, a/k/a “Eric Pope,” the defendant,
approximately $2,250 for his purported legal advice and
services. The PayPal account to which Skincare Company~l

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Founder made those payments was in the name of Headline
Consulting,

31. Based on my review of records from PayPal, I have
learned that, from at least in or about November 2016 through at
least in or about May 2018, the Headline Consulting PayPal
account to which the payments described in this Complaint were
sent received over $50,000 in payments.

WHEREFORE, deponent respectfully requests that JOHN
LAMBERT, a/k/a “Eric Pope,” the defendant, be imprisoned or bailed,

as the case may be.

    

ecial gent Kevin LeClair
United States Attorney's Office
Southern District of New York

S rn to before me this
ij day of-` 'Apri '~/2019

 

 

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